                    IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE MIDDLE DISTRICT OF PENNSYLVANIA


In re: Timothy T. Dulay and Adah A. Dulay                   :       CHAPTER 7
        Debtors.                                            :
__________________________________________                  :       BANKRUPTCY CASE NO
Nationstar Mortgage LLC d/b/a Mr. Cooper,                   :       18-01795/RNO
        Movant                                              :
v.                                                          :       11 U.S.C. § 362
Timothy T. Dulay and Adah A. Dulay,                         :
        Debtors,                                            :
                                                            :
John J. Martin, Esquire, former Trustee,                    :
Robert P. Sheils, Jr., Esquire, Trustee                     :
        Additional Respondent.                              :


              MOTION TO CONTINUE HEARING WITH CONCURRENCE

        Now comes Robert P. Sheils, Jr. Esquire, Chapter 7 Trustee, by and through his counsel,

Sheils Law Associates, P.C., and files this Motion to Continue Hearing with Concurrence, and in

support thereof avers as follows:

        1.     On April 27, 2018, Debtors filed a Chapter 7 bankruptcy petition.

        2.     Nationstar Mortgage, LLC, d/b/a Mr Cooper, filed a Motion for Relief on May 7,

2018 and a hearing on the Motion for Relief was scheduled for May 30, 2018.

        3.     The hearing on the Motion for Relief was rescheduled from May 30, 2018 to June

27, 2018 to allow for the 341 meeting of creditors to be held prior to the hearing on the Motion

for Relief.

        4.     The 341 meeting was then re-scheduled to June 29, 2018 and the Motion for

Relief hearing was again continued to July 18, 2018.

        5.     Debtor’s attorney was unable to make the 341 meeting on June 29, 2018 and the

matter was continued to July 27, 2018.

        6.     The hearing date on the Motion for Relief of Nationstar Mortgage is July 18,

2018. We are respectfully requesting that the hearing be rescheduled for a date after July 27,

2018, to allow Trustee Sheils to conduct the 341 meeting of creditors.

Case 5:18-bk-01795-RNO         Doc 27 Filed 07/11/18 Entered 07/11/18 11:04:59                Desc
                                Main Document    Page 1 of 2
       7.      Kevin S. Frankel, Esquire, on behalf of Nationstar Mortgage, LLC, d/b/a Mr

Cooper, concurs in this request.

       WHEREFORE, counsel for Trustee, Jill M. Spott of Sheils Law Associates, P.C.,

respectfully requests that this Honorable Court grant Trustee’s Motion to Continue Hearing.

                                                           Respectfully Submitted,


                                                           /s/     Jill M. Spott
                                                           Jill M. Spott, Esquire
                                                           Supreme Court ID: 88640
                                                           Sheils Law Associates, P.C.
                                                           108 North Abington Road
                                                           Clarks Summit, PA 18411
                                                           570-587-2600
                                                           570-585-0313 – Facsimile
                                                           jspottesq@sheilslaw.com




Case 5:18-bk-01795-RNO         Doc 27 Filed 07/11/18 Entered 07/11/18 11:04:59                Desc
                                Main Document    Page 2 of 2
